Case 2:05-cv-02385-BBD-dkv Document 5 Filed 08/15/05 Page 1 of 4 Page|D 11

IN THE U'NITED STATES DISTRICT COURT ntsb Z@
FOR THE WESTERN DISTRICT OF TENNESSEE BY ~-.QC.
WESTERN DIVISION

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vs. No. 05-2385 DV

SHARP MANUFACTURING COMPANY
OF AMERICA, A DIVISION OF AND
D/B/A SHARP ELECTRONICS
CORPORATION,

v\.,¢\-.r~_d~_/\_/\.¢\.r~_¢\_rv'-_»'~.d

Defendant.

 

SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held
August 9, 2005. Present were Jill M. Shirley, counsel for
plaintiff, and Charles W. Cavagnaro, Jr., counsel for defendants.
At the conference, the following dates were established as the
final dates for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(l):
September 8, 2005.

JOINING PARTIES: October 31, 2005.

AMENDING PLEADINGS: October 31, 2005.

INITIAL MOTIONS TO DISMISS: November 30, 2005.
COMPLETING ALL DISCOVERY: April 28, 2006.

(a) DOCUMENT PRODUCTION: April 28, 2006.

TNS document entered on the docket sheet In compliance
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Case 2:05-cv-02385-BBD-dkv Document 5 Filed 08/15/05 Page 2 of 4 Page|D 12

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: April 28, 2006.

(C) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: January 31, 2006.

(2) DISCLOSURE oF DEFENDANT's RULE 26 EXPERT
INFORMATION: February 28, 2006.

(3) EXPERT WITNESS DEPOSITIONS: April 28, 2006.
FILING DISPOSITIVE MOTIONS: May 31, 2006.
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All. motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
metion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection to the default, response.
answer, or objection shall be waived.

This case is set for jury trial, and the trial is expected to
last 4 day(s). The pretrial order date, pretrial conference date,
and trial date will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to
engage in court~annexed attorney mediation or private mediation
after the close of discovery.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

Case 2:05-cv-02385-BBD-dkv Document 5 Filed 08/15/05 Page 3 of 4 Page|D 13

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a

reply is required.

The parties have not consented to trial before the magistrate
judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED.

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DIANE K. vescovo
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DATE= /6, ;'M>

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02385 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

J ill Marie Shirley

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Honorable Bernice Doneld
US DISTRICT COURT

